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                Washington et al. v. U.S. Department of Transportation, et al.
                            Motion for Preliminary Injunction

                             Plaintiff States’ Statutory Addendum

              Infrastructure Investment and Jobs Act, Pub. L. No. 117-58 (2021)
                              Division J, Title VIII, Paragraph 2
             Federal Highway Administration, Highway Infrastructure Program
                                   135 Stat. 429, 1421-1426


[135 Stat. at 1421] (2) $5,000,000,000, to remain available until expended for amounts made
available for each of fiscal years 2022 through 2026, shall be to carry out a National Electric
Vehicle Formula Program (referred to in this paragraph in this Act as the “Program”) to provide
funding to States to strategically deploy electric vehicle charging infrastructure and to establish
an interconnected network to facilitate data collection, access, and reliability:

Proviso 1

Provided, That funds made available under this paragraph in this Act shall be used for:
       (1) the acquisition and installation of electric vehicle charging infrastructure to serve as a
       catalyst for the deployment of such infrastructure and to connect it to a network to
       facilitate data collection, access, and reliability;

       (2) proper operation and maintenance of electric vehicle charging infrastructure; and

       (3) data sharing [135 Stat. at 1422] about electric vehicle charging infrastructure to
       ensure the long-term success of investments made under this paragraph in this Act:

Proviso 2
Provided further, That for each of fiscal years 2022 through 2026, the Secretary shall distribute
among the States the funds made available under this paragraph in this Act so that each State
receives an amount equal to the proportion that the total base apportionment or allocation
determined for the State under subsection (c) of section 104 or under section 165 of title 23,
United States Code, bears to the total base apportionments or allocations for all States under
subsection (c) of section 104 and section 165 of title 23, United States Code:

Proviso 3

Provided further, That the Federal share payable for the cost of a project funded under this
paragraph in this Act shall be 80 percent:
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Proviso 4

Provided further, That the Secretary shall establish a deadline by which a State shall provide a
plan to the Secretary, in such form and such manner that the Secretary requires (to be made
available on the Department's website), describing how such State intends to use funds
distributed to the State under this paragraph in this Act to carry out the Program for each fiscal
year in which funds are made available:

Proviso 5

Provided further, That, not later than 120 days after the deadline established in the preceding
proviso, the Secretary shall make publicly available on the Department's website and submit to
the House Committee on Transportation and Infrastructure, the Senate Committee on
Environment and Public Works, and the House and Senate Committees on Appropriations, a
report summarizing each plan submitted by a State to the Department of Transportation and an
assessment of how such plans make progress towards the establishment of a national network of
electric vehicle charging infrastructure:

Proviso 6

Provided further, That if a State fails to submit the plan required under the fourth proviso of this
paragraph in this Act to the Secretary by the date specified in such proviso, or if the Secretary
determines a State has not taken action to carry out its plan, the Secretary may withhold or
withdraw, as applicable, funds made available under this paragraph in this Act for the fiscal year
from the State and award such funds on a competitive basis to local jurisdictions within the State
for use on projects that meet the eligibility requirements under this paragraph in this Act:
Proviso 7

Provided further, That, prior to the Secretary making a determination that a State has not taken
actions to carry out its plan, the Secretary shall notify the State, consult with the State, and
identify actions that can be taken to rectify concerns, and provide at least 90 days for the State to
rectify concerns and take action to carry out its plan:

Proviso 8

Provided further, That the Secretary shall provide notice to a State on the intent to withhold or
withdraw funds not less than 60 days before withholding or withdrawing any funds, during
which time the States shall have an opportunity to appeal a decision to withhold or withdraw
funds directly to the Secretary:

Proviso 9
Provided further, That if the Secretary determines that any funds withheld or withdrawn from a
State under the preceding proviso cannot be fully awarded to local jurisdictions within the State
under the preceding proviso in a manner consistent with the purpose of this paragraph in this Act,
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any such funds remaining shall be distributed among other States (except States for which funds
for that fiscal year [135 Stat. at 1423] have been withheld or withdrawn under the preceding
proviso) in the same manner as funds distributed for that fiscal year under the second proviso
under this paragraph in this Act, except that the ratio shall be adjusted to exclude States for
which funds for that fiscal year have been withheld or withdrawn under the preceding proviso:
Proviso 10

Provided further, That funds distributed under the preceding proviso shall only be available to
carry out this paragraph in this Act:

Proviso 11

Provided further, That funds made available under this paragraph in this Act may be used to
contract with a private entity for acquisition and installation of publicly accessible electric
vehicle charging infrastructure and the private entity may pay the non-Federal share of the cost
of a project funded under this paragraph:

Proviso 12

Provided further, That funds made available under this paragraph in this Act shall be for projects
directly related to the charging of a vehicle and only for electric vehicle charging infrastructure
that is open to the general public or to authorized commercial motor vehicle operators from more
than one company:
Proviso 13

Provided further, That any electric vehicle charging infrastructure acquired or installed with
funds made available under this paragraph in this Act shall be located along a designated
alternative fuel corridor:

Proviso 14
Provided further, That no later than 90 days after the date of enactment of this Act, the Secretary
of Transportation, in coordination with the Secretary of Energy, shall develop guidance for States
and localities to strategically deploy electric vehicle charging infrastructure, consistent with this
paragraph in this Act:
Proviso 15

Provided further, That the Secretary of Transportation, in coordination with the Secretary of
Energy, shall consider the following in developing the guidance described in the preceding
proviso:

       (1) the distance between publicly available electric vehicle charging infrastructure;
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       (2) connections to the electric grid, including electric distribution upgrades; vehicle-to-
       grid integration, including smart charge management or other protocols that can minimize
       impacts to the grid; alignment with electric distribution interconnection processes, and
       plans for the use of renewable energy sources to power charging and energy storage;

       (3) the proximity of existing off-highway travel centers, fuel retailers, and small
       businesses to electric vehicle charging infrastructure acquired or funded under this
       paragraph in this Act;
       (4) the need for publicly available electric vehicle charging infrastructure in rural
       corridors and underserved or disadvantaged communities;

       (5) the long-term operation and maintenance of publicly available electric vehicle
       charging infrastructure to avoid stranded assets and protect the investment of public funds
       in that infrastructure;

       (6) existing private, national, State, local, Tribal, and territorial government electric
       vehicle charging infrastructure programs and incentives;

       (7) fostering enhanced, coordinated, public-private or private investment in electric
       vehicle charging infrastructure;
       (8) meeting current and anticipated market demands for electric vehicle charging
       infrastructure, including with regard to power levels and charging speed, and minimizing
       the time to charge current and anticipated vehicles; and

       (9) any other factors, as determined by the Secretary:

Proviso 16
Provided further, That if a State determines, and the Secretary certifies, that the designated
alternative fuel corridors in the States are fully built out, then the State may use funds provided
[135 Stat. at 1424] under this paragraph for electric vehicle charging infrastructure on any public
road or in other publically accessible locations, such as parking facilities at public buildings,
public schools, and public parks, or in publically accessible parking facilities owned or managed
by a private entity:

Proviso 17

Provided further, That subject to the minimum standards and requirements established under the
following proviso, funds made available under this paragraph in this Act may be used for:

       (1) the acquisition or installation of electric vehicle charging infrastructure;

       (2) operating assistance for costs allocable to operating and maintaining electric vehicle
       charging infrastructure acquired or installed under this paragraph in this Act, for a period
       not to exceed five years;
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       (3) the acquisition or installation of traffic control devices located in the right-of-way to
       provide directional information to electric vehicle charging infrastructure acquired,
       installed, or operated under this paragraph in this Act;

       (4) on-premises signs to provide information about electric vehicle charging
       infrastructure acquired, installed, or operated under this paragraph in this Act;

       (5) development phase activities relating to the acquisition or installation of electric
       vehicle charging infrastructure, as determined by the Secretary; or

       (6) mapping and analysis activities to evaluate, in an area in the United States designated
       by the eligible entity, the locations of current and future electric vehicle owners, to
       forecast commuting and travel patterns of electric vehicles and the quantity of electricity
       required to serve electric vehicle charging stations, to estimate the concentrations of
       electric vehicle charging stations to meet the needs of current and future electric vehicle
       drivers, to estimate future needs for electric vehicle charging stations to support the
       adoption and use of electric vehicles in shared mobility solutions, such as micro-transit
       and transportation network companies, and to develop an analytical model to allow a city,
       county, or other political subdivision of a State or a local agency to compare and evaluate
       different adoption and use scenarios for electric vehicles and electric vehicle charging
       stations:
Proviso 18

Provided further, That not later than 180 days after the date of enactment of this Act, the
Secretary of Transportation, in coordination with the Secretary of Energy and in consultation
with relevant stakeholders, shall, as appropriate, develop minimum standards and requirements
related to:

       (1) the installation, operation, or maintenance by qualified technicians of electric vehicle
       charging infrastructure under this paragraph in this Act;

       (2) the interoperability of electric vehicle charging infrastructure under this paragraph in
       this Act;
       (3) any traffic control device or on-premises sign acquired, installed, or operated under
       this paragraph in this Act;
       (4) any data requested by the Secretary related to a project funded under this paragraph in
       this Act, including the format and schedule for the submission of such data;

       (5) network connectivity of electric vehicle charging infrastructure; and
       (6) information on publicly available electric vehicle charging infrastructure locations,
       pricing, real-time availability, and accessibility through mapping applications:
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Proviso 19

Provided further, That not later than 1 year after the date of enactment of this Act, the Secretary
shall designate national electric vehicle charging corridors that identify the near- and long-term
need for, and the location of, electric vehicle charging [135 Stat. at 1425] infrastructure to
support freight and goods movement at strategic locations along major national highways, the
National Highway Freight Network established under section 167 of title 23, United States Code,
and goods movement locations including ports, intermodal centers, and warehousing locations:
Proviso 20

Provided further, That the report issued under section 151(e) of title 23, United States Code,
shall include a description of efforts to achieve strategic deployment of electric vehicle charging
infrastructure in electric vehicle charging corridors, including progress on the implementation of
the Program under this paragraph in this Act:

Proviso 21

Provided further, That, for fiscal year 2022, before distributing funds made available under this
paragraph in this Act to States, the Secretary shall set aside from funds made available under this
paragraph in this Act to carry out this paragraph in this Act not more than $300,000,000, which
may be transferred to the Joint Office described in the twenty-fourth proviso of this paragraph in
this Act, to establish such Joint Office and carry out its duties under this paragraph in this Act:

Proviso 22

Provided further, That, for each of fiscal years 2022 through 2026, after setting aside funds under
the preceding proviso, and before distributing funds made available under this paragraph in this
Act to States, the Secretary shall set aside from funds made available under this paragraph in this
Act for such fiscal year to carry out this paragraph in this Act 10 percent for grants to States or
localities that require additional assistance to strategically deploy electric vehicle charging
infrastructure:

Proviso 23
Provided further, That not later than 1 year after the date of enactment of this Act, the Secretary
shall establish a grant program to administer to States or localities the amounts set aside under
the preceding proviso:

Proviso 24
Provided further, That, except as otherwise specified under this paragraph in this Act, funds
made available under this paragraph in this Act, other than funds transferred under the nineteenth
proviso of this paragraph in this Act to the Joint Office, shall be administered as if apportioned
under chapter 1 of title 23, United States Code:
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Proviso 25

Provided further, That funds made available under this paragraph in this Act shall not be
transferable under section 126 of title 23, United States Code:

Proviso 26

Provided further, That there is established a Joint Office of Energy and Transportation (referred
to in this paragraph in this Act as the “Joint Office”) in the Department of Transportation and the
Department of Energy to study, plan, coordinate, and implement issues of joint concern between
the two agencies, which shall include:
       (1) technical assistance related to the deployment, operation, and maintenance of zero
       emission vehicle charging and refueling infrastructure, renewable energy generation,
       vehicle-to-grid integration, including microgrids, and related programs and policies;

       (2) data sharing of installation, maintenance, and utilization in order to continue to inform
       the network build out of zero emission vehicle charging and refueling infrastructure;

       (3) performance of a national and regionalized study of zero emission vehicle charging
       and refueling infrastructure needs and deployment factors, to support grants for
       community resilience and electric vehicle integration;

       (4) development and deployment of training and certification programs;
       (5) establishment and implementation of a program to promote renewable [135 Stat. at
       1426] energy generation, storage, and grid integration, including microgrids, in
       transportation rights-of-way;

       (6) studying, planning, and funding for high-voltage distributed current infrastructure in
       the rights-of way of the Interstate System and for constructing high-voltage and or
       medium-voltage transmission pilots in the rights-of-way of the Interstate System;
       (7) research, strategies, and actions under the Departments' statutory authorities to reduce
       transportation-related emissions and mitigate the effects of climate change;

       (8) development of a streamlined utility accommodations policy for high-voltage and
       medium-voltage transmission in the transportation right-of-way; and

       (9) any other issues that the Secretary of Transportation and the Secretary of Energy
       identify as issues of joint interest:

Proviso 27
Provided further, That the Joint Office of Energy and Transportation shall establish and maintain
a public database, accessible on both Department of Transportation and Department of Energy
websites, that includes: (1) information maintained on the Alternative Fuel Data Center by the
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Office of Energy Efficiency and Renewable Energy of the Department of Energy with respect to
the locations of electric vehicle charging stations; (2) potential locations for electric vehicle
charging stations identified by eligible entities through the program; and (3) the ability to sort
generated results by various characteristics with respect to electric vehicle charging stations,
including location, in terms of the State, city, or county; status (operational, under construction,
or planned); and charging type, in terms of Level 2 charging equipment or Direct Current Fast
Charging Equipment:

Proviso 28

Provided further, That the Secretary of Transportation and the Secretary of Energy shall
cooperatively administer the Joint Office consistent with this paragraph in this Act:

Proviso 29

Provided further, That the Secretary of Transportation and the Secretary of Energy may transfer
funds between the Department of Transportation and the Department of Energy from funds
provided under this paragraph in this Act to establish the Joint Office and to carry out its duties
under this paragraph in this Act and any such funds or portions thereof transferred to the Joint
Office may be transferred back to and merged with this account:

Proviso 30

Provided further, That the Secretary of Transportation and the Secretary of Energy shall notify
the House and Senate Committees on Appropriations not less than 15 days prior to transferring
any funds under the previous proviso:

Proviso 31

Provided further, That for the purposes of funds made available under this paragraph in this Act:
(1) the term “State” has the meaning given such term in section 101 of title 23, United States
Code; and (2) the term “Federal-aid highway” means a public highway eligible for assistance
under chapter 1 of title 23, United States Code, other than a highway functionally classified as a
local road or rural minor collector:
Proviso 32

Provided further, That, of the funds made available in this division or division A of this Act for
the Federal lands transportation program under section 203 of title 23, United States Code, not
less than $7,000,000 shall be made available for each Federal agency otherwise eligible to
compete for amounts made available under that section for each of fiscal years 2022 through
2026;
